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 8                           UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                  SOUTHER N DIVISION

11                            September 2018 Grand Jury

12   UNITED STATES OF AMERICA,                     No. S~C~~RI°I-- OC131~ ~~IS
13             Plaintiff,                          I N D I C T M E N T

14             v.                                  [21 U.S.C. ~ 846: Conspiracy to
                                                   Distribute Oxycodone and Acquire a
15   R.AIF WADIE ISKANDER,                         Controlled Substance by
     JOHNNY GILBERT ALVAREZ,                       Misrepresentation, Fraud, Forgery,
16      aka ~~MJ," and                             Deception, and Subterfuge; 21
     ADAM ANION ROGGERO,                           U.S.C. ~~ 841(a) (1), (b) (1.) (C)
17                                                 Distribution of Controlled
               Defendants.                         Substances; 21 U.S.C.
18                                                 ~~ 841(a)(1), (b)(1) (A),
                                                   (b) (1)(B): Distribution of
19                                                 Methamphetamine; 18 U.S.C. ~ 2(b):
                                                   Causing an Act to be Done; 21
20                                                 U.S.C. ~ 853: Criminal Forfeiture]

21

22        The Grand Jury charges:

23                                        COUNT ONE

24                                 [21 U.S.C. ~ 846]

25                                  [ALL DEFENDANTS]

26   A.   INTRODUCTORY ALLEGATIONS

27        1.   Defendant RAIF WADIE ISKANDER was a physician's assistant

28   licensed to practice medicine in the State of California.                   Defendant
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 1   ISKANDER worked for a medical practice located in Orange County,

 2   within the Central District of California.

 3           2.   Among defendant ISKANDER's patients was Broker 1, who

 4   conspired to commit the crimes described in Count One until Broker 1

 5   began cooperating with law enforcement in approximately February

 6   2019.

 7 I B.      OBJECTS OF THE CONSPIRACY

 8           3.   Beginning on a date unknown to the Grand Jury, and

 9   continuing to at least in or around April 18, 2019, in Orange County,

10   within the Central District of California, and elsewhere, defendants

11   ISKANDER, JOHNNY GILBERT ALVAREZ, also known as ~~MJ," and ADAM ANION

12   ROGGERO, together with others known and unknown to the Grand Jury,

13   conspired with each other to knowingly and intentionally commit the

14   following offenses:

15                a.   Distribution of oxycodone, a Schedule II narcotic drug

16   controlled substance, in violation of Title 21, United States Code,

17   Sections 841(a)(1), (b)(1) (C); and

18                b.   Acquiring a controlled substance by misrepresentation,

19   fraud, forgery, deception, and subterfuge, in violation of Title 21,

20   United States Code, Section 843(a)(3).

21   C.   MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

22        ACCOMPLISHED

23        4.      The objects of the conspiracy were to be accomplished, in

24   substance, as follows:

25                a.   Defendant ISKANDER would act and intend to act outside

26   the usual course of professional practice and without a legitimate

27   medical purpose, by issuing fraudulent prescriptions for oxycodone

28   and other drugs to drug brokers in exchange for cash bribes.

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 1              b.     Defendant ISKANDER would write the prescriptions by

 2   filling in the drug type and pill quantity on the prescription but

 ~~ leaving the patient name blank, so that the drug brokers could fill

!
~ in the patient name later.

 5              c.     Defendant ISKANDER would provide the prescriptions to

 6   defendants ALVAREZ and ROGGERO and other drug brokers, knowing that

 7   the drugs filled from the prescriptions would be sold to drug

 8   customers who were not using the drugs for legitimate medical

 9   purposes and whom defendant ISKANDER had never met or examined.

10              d.     Defendants ALVAREZ and ROGGERO and other drug brokers

11   would sell the prescriptions issued by defendant ISKANDER, or the

12   drugs obtained from filling those prescriptions, to drug customers

13   who were not using the drugs for legitimate medical purposes.

14              e.     Defendants ALVAREZ and ROGGERO and other drug brokers

15   would provide to defendant ISKANDER the names and dates of birth of

16 ( purported patients whose names could be used on the prescriptions.

17              f.     Defendant ISKANDER would check the prescription

18   history of purported patients to see if their names could be used on

19   the prescriptions without attracting scrutiny from the Drug

20   Enforcement Administration.

21              g.     Defendant ISKANDER would receive cash bribes from

22   defendants ALVAREZ and ROGGERO and other drug brokers in exchange for

23   the prescriptions.

24   D.   OVERT ACTS

25        5.   In furtherance of the conspiracy, and to accomplish the

26   objects of the conspiracy, on or about the following dates,

27   defendants ISKANDER, ALVAREZ, and ROGGERO, and others known and

28   unknown to the Grand Jury, committed various overt acts within the

                                            3
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 1   Central District of California, and elsewhere, including, but not

 2   limited to, the following:

 3         October, November, and December 2018 Text Messages by Defendants

!
~                             ISKANDER, ALVAREZ, and ROGGERO

 5        Overt Act No. 1:        On October 3, 2018, defendant ISKANDER

 6   received a text message from Broker 1 stating, in coded language,

 7   that defendant ROGGERO wanted two or three prescriptions and would

 8 s pay for them up front.

 9        Overt Act No. 2:        On October 4, 2018, using coded language in

10   a text message, defendant ALVAREZ told Broker 1 that defendant

11   ALVAREZ needed two prescriptions right away.

12        Overt Act No. 3:       On October 8, 2018, defendant ALVAREZ

13   received a text message from Broker 1 stating, in coded language,

14 ' that if defendant ALVAREZ did not provide the money owed to defendant

15   ISKANDER, defendant ISKANDER would refuse to write defendant ALVAREZ

16   any more prescriptions.

17        Overt Act No. 4:       On November 6, 2018, using coded language in

18   a text message, defendant ISKANDER complained to Broker 1 that one of

19   the drug brokers had filled a prescription at a Rite Aid pharmacy,

20   and that a pharmacy employee at that location then called defendant

21   ISKANDER's office to verify the prescription.

22        Overt Act No. 5:       On November 7, 2018, using coded language in

23   a text message, defendant ISKANDER told Broker 1 that defendant

24   ISKANDER had not received enough money for the nine prescriptions he

25   had previously given to the unindicted co-conspirator.

26        Overt Act No. 6:       On November 7, 2018, defendant ISKANDER

27   received a text message from Broker 1 stating, in coded language,

28
      Case 8:19-cr-00136-JVS Document 1 Filed 07/31/19 Page 5 of 26 Page ID #:5




 1 ~~that Broker 1 had only sold three of the nine prescriptions

 2 ~~previously provided by defendant ISKANDER.

 3         Overt Act No. 7:       On November 16, 2018, using coded language

 4 ~~in a text message, defendant ISKANDER told Broker 1 to fill

 5    prescriptions at Balboa Pharmacy in Newport Beach, California, to

 6   ensure that the prescriptions would be filled without arousing

 7   suspicion.

 8         Overt Act No. 8:       On November 18, 2018, using coded language

 9   in a text message, defendant ISKANDER told Broker 1 that defendant

10   ALVAREZ's inability to follow instructions risked exposing the

11   conspiracy.

12        Overt Act No. 9:        On November 18, 2018, defendant ISKANDER

13   received a text message from Broker 1 stating, in coded language,

14   ' that defendant ROGGERO would purchase two prescriptions the next day.

15        Overt Act No. 10:      On November 21, 2018, using coded language

16   in a text message, defendant ISKANDER told Broker 1 that patient J.P.

17   had no history of being prescribed oxycodone, so defendant ISKANDER

18   could not write a prescription in J.P.'s name without arousing law

19   enforcement suspicion.

20        Overt Act No. 11:      On November 28, 2018, using coded language

21   in a text message, defendant ISKANDER told Broker 1 that it would

22   look suspicious if defendant ISKANDER called a pharmacy to ask

23   whether a patient had filled a prescription purportedly issued by

24   defendant ISKANDER to the patient.

25        Overt Act No. 12:      On November 28, 2018, using coded language

26   in a text message, defendant ISKANDER told Broker 1 that defendant

27   ROGGERO should pay in cash up front if defendant ROGGERO wanted to

28   purchase a prescription from defendant ISKANDER.

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 1        Overt Act No. 13:       On November 28, 2018, using coded language

 2 ' in a text message, defendant ISKANDER asked Broker 1 what the

 3   conspirators should do about defendant ALVAREZ failing to pay his

 4   debts owed for prior purchases of prescriptions from defendant

 5 II ISKANDER.

 6        Overt Act No. 14:       On December 14, 2018, defendant ROGGERO

 7   received a text message from Broker 1 stating, in coded language,

 8   that defendant ISKANDER had agreed to write a prescription for 120

 9   oxycodone pills in the name of patient C.L.

10        Overt I~ct No. 15:      On December 14, 2018, using coded language

11   in a text message, defendant ROGGERO told Broker 1 that defendant

12 ~ ROGGERO wanted to purchase prescriptions in the names of patients

13 I C.L. and B.K.

14        Overt Act No. 16:      On December 15, 2018, using coded language

15   in a text message, defendant ROGGERO told Broker 1 that defendant

16   ROGGERO had fentanyl patches available for sale to Broker 1.

17    December 18, 2018 Sale of Approximately 13.68 Grams of Oxycodone by

18                                 Defendant ALVAREZ

19        Overt Act No. 17:      On December 14, 2018, using coded language

20   in a text message, defendant ALVAREZ received a text message from

21   Broker 1 stating, in coded language, that defendant ALVAREZ should

22   bring fentanyl patches and cash to pay for prescriptions.

23        Overt Act No. 18:      On December 18, 2018, using coded language

24   in a text message, defendant ALVAREZ told a person he believed to be

25   a customer, but who was in fact an undercover law enforcement officer

26   ("Undercover Customer 1"), that defendant ALVAREZ had oxycodone

27   available for sale.

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         Case 8:19-cr-00136-JVS Document 1 Filed 07/31/19 Page 7 of 26 Page ID #:7




    1        Overt Act No. 19:       On December 18, 2018, using coded language

    2   in a text message, defendant ALVAREZ told Undercover Customer 1 that

    3   defendant ALVAREZ was waiting for a doctor to give him a

    4   prescription.

    5        Overt Act No. 20:       On December 18, 2018, at a parking lot in

    6   Irvine, California, defendant ALVAREZ told Undercover Customer 1 that

    7 , the doctor charged $1,800 for the prescription, and that defendant

    8   ALVAREZ's broker fee was $400.

    9        Overt Act No. 21:       On December 18, 2018, defendant ALVAREZ gave

 10     Undercover Customer 1 a prescription for 120 pills of oxycodone,

 11     which identified defendant ISKANDER as the prescriber and R.A. as the

 12     receiving patient.

 13          Overt Act No. 22:       On December 18, 2018, defendant ALVAREZ

 14     instructed Undercover Customer 1 to follow him to a pharmacy in

15      Newport Beach, California, so that defendant ALVAREZ could fill the

16      prescription.

17           Overt Act No. 23:      On December 18, 2018, in the parking lot of

18      a pharmacy in Newport Beach, California, defendant ALVAREZ gave

19      Undercover Customer 1 a prescription pill bottle containing

20      approximately 13.68 grams of oxycodone.

21           Overt Act No. 24:      On December 18, 2018, using coded language

22      in a text message, defendant ISKANDER received a text message from

23      Broker 1 stating, in coded language, that defendant ALVAREZ wanted to

24      pay ISKANDER $1,500 per prescription until defendant ALVAREZ's debt

25      was repaid.

26        December 2018 and January 2019 Text Messages by Defendant ROGGERO

f~.yl        Overt Act No. 25:      On December 18, 2018, using coded language

~:3     in a text message, defendant ROGGERO told Broker 1 that defendant

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     1   ROGGERO would pick up prescriptions in the names of patients C.L. and

     2   B.K. that day.

     3         Overt Act No. 26:      On December 21, 2018, using coded language

     4   in a text message, defendant ROGGERO provided to Broker 1 the name

    5    and date of birth of patient R.R., for use in completing an oxycodone

    6    prescription.

    7         Overt Act No. 27:       On December 24, 2018, using coded language

    8    in a text message, defendant ROGGERO provided to Broker 1 the date of

    9    birth of patient C.M., for use in completing an oxycodone

 10      prescription.

 11           Overt Act No. 28:       On December 27, 2018, using coded language

 12      in a text message, defendant ISKANDER told Broker 1 that patient C.M.

13       had not used pain medication recently, and had not used enough to be

14       ( prescribed a high strength pill without arousing law enforcement

15       suspicion.

16            Overt Act No. 29:      On December 28, 2018, defendant ROGGERO

17       r eceived a text message from Broker 1 stating, in coded language,

18       that defendant ISKANDER had checked the prescription history of

19       patient C.M. and determined that C.M. was not a plausible oxycodone

20       patient.

21            Overt Act No. 30:      On January 3, 2019, using coded language in

22       a text message, defendant ROGGERO told Broker 1 that defendant

23       ROGGERO could supply 30 fentanyl patches for $750 and 60 fentanyl

24       patches for $1300.

25            Overt Act No. 31:      On January 21, 2019, using coded language in

P
.t~      a text message, defendant ISKANDER told Broker 1 that January 27,

f~.y1    2 019 was the earliest that prescriptions issued in the names of

f►.~:3   defendant ALVAREZ's parents could be filled.

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 1        Overt Act No. 32:       On January 30, 2019, using coded language in

 2   a text message, defendant ISKANDER instructed Broker 1 to deposit

 3   money in his Wells Fargo Bank account as payment for oxycodone

 4   prescriptions.

 5        Overt Act No. 33:       On February 16, 2019, using coded language

 6   in a text message, defendant ROGGERO told Broker 1 that defendant

 7   ROGGERO needed a prescription for at least 50 oxycodone pills.

 8        Overt Act No. 34:       On February 19, 2019, using coded language

 9 '~ in a text message, defendant ROGGERO told Broker 1 to put the

10   oxycodone prescription in the name of patient C.L.

11     February 23, 2019 Sale of Six Oxycodone Prescriptions by Defendant

12                                      ISKANDER

13        Overt Act No. 35:      On February 23, 2019, at a restaurant in

14   Aliso Viejo, California, defendant ISKANDER accepted a $2,500 cash

15   bribe from Broker 1, who had begun cooperating with law enforcement,

16   in exchange for oxycodone prescriptions Broker 1 had previously

17   purchased from defendant ISKANDER.

18        Overt Act No: 36:      On February 23, 2019, defendant ISKANDER

19   told Broker 1 that defendant ISKANDER would write six new

20   prescriptions for Broker 1.

21        Overt Act No. 37:      On February 23, 2019, defendant ISKANDER

22   told Broker 1 that defendant ISKANDER had lied to a pharmacist who

23   had called to verify an oxycodone prescription that defendant

24   ISKANDER sold defendant ALVAREZ, regarding why defendant ALVAREZ and

25 i defendant ALVAREZ's parents were all receiving the same medication.

26        Overt Act No. 38:      On February 23, 2019, at a restaurant in

27   Aliso Viejo, California, defendant ISKANDER gave Broker 1 six



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 1   prescriptions for 120 oxycodone pills each, signed by defendant

 2   ISKANDER but with the patient names and dates of birth left blank.

 3   February 27, 2019 Sale of Oxycodone Prescription to Defendant ROGGERO

 4        Overt Act No. 39:       On February 27, 2019, using coded language

 5   in a text message, defendant ROGGERO told Broker 1 that defendant

 6   ROGGERO had heroin and methamphetamine available for sale.

 7        Overt Act No. 40:       On February 27, 2019, defendant ROGGERO told

 8   Broker 1 to take an oxYcodone PrescriPtion that defendant ISKANDER

 9   had signed, and to complete the patient information on the

10   prescription using defendant ROGGERO's name and date of birth.

11        Overt Act No. 41:      On February 27, 2019, in a parking lot in

12   Costa Mesa, California, defendant ROGGERO gave Broker 1 approximately

13   1.95 grams of methamphetamine, approximately 3.93 grams of heroin,

14   and $760 in cash, in exchange for a prescription signed by defendant

15   ISKANDER for 120 oxycodone pills.

16        Overt Act No. 42:      On February 27, 2019, in Newport Beach,

17   California, defendant ROGGERO possessed in his vehicle a prescription

18   signed by defendant ISKANDER for 120 oxycodone pills, a

19   methamphetamine pipe, and a digital scale.

20        Overt Act No. 43:      On February 27, 2019, in Newport Beach,

21   California, defendant ROGGERO possessed in his pants pockets

22   approximately 2.73 grams of alprazolam, approximately 0.373 grams of

23   methamphetamine, and $140 in cash.

24   March 8, 2019 Sale of Approximately 25.1 Grams of Methamphetamine by

25                                Defendant ALVAREZ

26        Overt Act No. 44:      On March 8, 2019, using coded language in a

27   text message, defendant ALVAREZ told a person he believed to be a

28   customer, but who was in fact an undercover law enforcement officer

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     1   ("Undercover Customer 2"), that defendant ALVAREZ could provide

     2   fentanyl and methamphetamine to Undercover Customer 2.

    3            Overt Act No. 45:    On March 8, 2019, defendant ALVAREZ told

     4   Undercover Customer 2 that one ounce of methamphetamine would cost

    5    $300.

    6         Overt Act No. 46:       On March 8, 2019, defendant ALVAREZ told

    7    Undercover Customer 2 that he was only selling the methamphetamine as

    8    a favor to Broker 1, so that Broker 1 would get defendant ALVAREZ a

    9    prescription for oxycodone on a later date.

 10           Overt Act No. 47:       On March 8, 2019, in a parking lot in Costa

 11      Mesa, California, defendant ALVAREZ gave Undercover Customer 2 a

 12      plastic jar containing approximately 25.1 grams of methamphetamine in

 13      exchange for $300 in cash.

 14         March 12, 2019 Sale of Approximately 4.31 Grams of Fentanyl b

 15                                    Defendant ALVAREZ

 16           Overt Act No. 48:      On March 9, 2019, using coded language in a

 17      text message, defendant ALVAREZ asked if Undercover Customer 2 wanted

18       to purchase fentanyl patches.

19            Overt Act No. 49:      On March 12, 2019, defendant ALVAREZ told

20       Undercover Customer 2 that the fentanyl patches were $1,000 for five

21       patches.

22            Overt Act No. 50:      On March 12, 2019, defendant ALVAREZ told

23       Undercover Customer 2 that defendant ALVAREZ could obtain an

24       unlimited amount of oxycodone pills that had been manufactured by

25       defendant ALVAREZ's supplier.

26            Overt Act No. 51:      On March 12, 2019, in a parking lot in Costa

xl       Mesa, California, defendant ALVAREZ gave Undercover Customer 2 a tin

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   1    containing approximately 1.56 grams of alprazolam and approximately

   2    5.31 grams of carisprodol.

   3         Overt Act No. 52:       On March 12, 2019, in a parking lot in Costa

   4    Mesa, California, defendant ALVAREZ gave approximately 4.31 grams of

   5    fentanyl to Undercover Customer 2 in exchange for $1,000 in cash.

   6       March 18, 2019 Sale of Eour Oxycodone Prescriptions by Defendant

   7                                       ISKANDER

   8         Overt Act No. 53:       On March 18, 2019, at a restaurant in Aliso

   9   Viejo, California, defendant ISKANDER accepted a $2,500 cash bribe

 10    from Broker 1 in exchange for the prescriptions provided by defendant

11     ISKANDER on February 23, 2019.

12           Overt Act No. 54:       On March 18, 2019, defendant ISKANDER told

13     Broker 1 that defendant ROGGERO had filled a prescription for 120

14     pills of oxycodone on October 23, 2018 and another prescription for

15     90 pills of oxycodone on October 24, 2018.

16           Overt Act No. 55:      On March 18, 2019, defendant ISKANDER told

17     Broker 1 that defendant ISKANDER had only given Broker 1

18     , prescriptions for 120 or 150 pills of oxycodone, never for 90 pills.

19           Overt Act No. 56:      On March 18, 2019, defendant ISKANDER asked

20     Broker 1 if Broker 1 was writing defendant ROGGERO's name on the

21     prescriptions provided to defendant ROGGERO.

22           Overt Act No. 57:      On March 18, 2019, defendant ISKANDER told

23     Broker 1 that defendant ISKANDER only trusted defendant ALVAREZ,

24     because the prescriptions for defendant ALVAREZ were written in

25     defendant ALVAREZ's parents' names.

26           Overt Act No. 58:      On March 18, 2019, at a restaurant in Aliso

27     Viejo, California, defendant ISKANDER gave Broker 1 four paper

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 1 ~~prescriptions for 120 oxycodone pills each, signed by defendant

 2 ~ ~ISKANDER but with the patient names and dates of birth left blank.

 3       April 9, 2019 Sale of Approximately 11.98 Grams of Fentanyl by

 4                                 Defendant AI,VAREZ

 5        Overt Act No. 59:       On March 26, 2019, using coded language in a

 6   text message, defendant ALVAREZ told Undercover Customer 2 that

 7   defendant ALVAREZ could supply 100 fentanyl pills for $1,700 or

 8   $1,800.

 9        Overt Act No. 60:       On April 9, 2019, at a parking lot in Costa

10   Mesa, California, defendant ALVAREZ gave Undercover Customer 2 a

11   bottle containing approximately 11.98 grams of fentanyl in exchange

12   for $2,000 in cash.

13    April 10, 2019 Sale of Approximately 425.2 Grams of Methamphetamine

14                               by Defendant ALVAREZ

15        Overt Act No. 61:       On April 9, 2019, using coded language in a

16 ' text message, defendant ALVAREZ asked if Undercover Customer 2 had

17   prescriptions for defendant ALVAREZ.

18        Overt Act No. 62:      On April 9, 2019, using coded language in a

19   text message, defendant ALVAREZ told Undercover Customer 2 that

20   defendant ALVAREZ could supply one and a half pounds of

21   methamphetamine for $3,000.

22        Overt Act No. 63:      On April 10, 2019, in a parking lot in Santa

23   Ana, California, defendant ALVAREZ told Undercover Customer. 2 that           ~

24   his supplier could provide one and a quarter pounds of

25   methamphetamine for $3,000, and that defendant ALVAREZ wanted

26   Undercover Customer 2 to help him get a prescription later.

27        Overt Act No. 64:      On April 10, 2019, in a parking lot in Costa

28   Mesa, California, defendant ALVAREZ gave a vacuum-sealed bag

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 1   containing approximately 211.1 grams of methamphetamine to Undercover

 2   Customer 2.

 3        Overt Act No. 65:       On April 10, 2019, in a parking lot in Costa

 4   Mesa, California, defendant ALVAREZ gave a bag containing

 5   approximately 214.1 grams of methamphetamine to Undercover_ Customer

 6   2.

 7        Overt Act No. 66:       On April 10, 2019, in a parking lot in Costa

 8   Mesa, California, defendant ALVAREZ accepted $2,500 in cash from

 9   Undercover Customer 2 for both bags of methamphetamine.

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 2                                      COUNT TWO

 3                      [21 U.S.C. ~§ 841(a)(1), (b)(1)(C)]

 4                                [DEFENDANT ALVAREZ]

 5        On or about December 18, 2018, in Orange County, within the

 6   Central District of California, defendant JOHNNY GILBERT ALVAREZ,

 7   also known as "MJ," knowingly and intentionally distributed

 8   oxycodone, a Schedule II narcotic drug controlled substance.

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 1                                     COUNT THREE

 2            [21 U.S.C. ~~ 841(a)(1), (b) (1) (C); 18 U.S.C. ~ 2(b)]

 3                               [DEFENDANT ISKANDER]

 4        On or about February 23, 2019, in Orange County, within the

 5   Central District of California, defendant RAIF WADIE ISKANDER, then a

 6   licensed physician's assistant in the State of California, while

 7   acting and intending to act outside the usual course of professional

 8   practice and without a legitimate medical purpose, knowingly and

 9   intentionally distributed, and willfully caused the intentional

10   distribution of, approximately 720 pills containing oxycodone, a

11   Schedule II narcotic drug controlled substance.

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 1                                     COUNT FOUR

 2                       [21 U.S.C. ~§ 841(a)(1), (b) (1) (C)]

 3                                [DEFENDANT ROGGERO]

 4        On or about February 27, 2019, in Orange County, within the

 5   Central District of California, defendant ADAM ANION ROGGERO

 6   knowingly and intentionally distributed methamphetamine, a Schedule

 7   II controlled substance.

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     1                                      COUNT FIVE

 2                           [21 U.S.C. ~~ 841(a)(1), (b) (1) (C)

 3                                    [DEFENDANT ROGGERO]

 4             On or about February 27, 2019, in Orange County, within the

 5       Central District of California, defendant ADAM ANTON ROGGERO

 :~
 C  knowingly and intentionally distributed heroin, a Schedule I narcotic

 7       drug controlled substance.

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 1                                      COUNT SIX

 2                       [21 U.S.C. ~§ 841(a) (1), (b) (1)(B)]

 3                                [DEFENDANT ALVAREZ]

 4        On or about March 8, 2019, in Orange County, within the Central

 5   District of California, defendant JOHNNY GILBERT ALVAREZ, also known

 6   as "MJ," knowingly and intentionally distributed at least five grams,

 7   that is, approximately 25.1 grams, of methamphetamine, a Schedule II

 8   controlled substance.

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     1                                     COUNT SEVEN

     2                      [21 U.S.C. ~~ 841(a) (1), (b) (1)(C)

     3                                [DEFENDANT ALVAREZ]

     4        On or about March 12, 2019, in Orange County, within the Central

     5   District of California, defendant JOHNNY GILBERT ALVAREZ, also known

     6   as "MJ," knowingly and intentionally distributed fentanyl, a Schedule

     7   II narcotic drug controlled substance.

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 1                                     COUNT EIGHT

 2            [21 U.S.C. ~~ 841 (a)(1), (b) (1)(C); 18 U.S.C. ~ 2(b)

 3                               [DEFENDANT ISKANDER]

 4        On or about March 18, 2019, in Orange County, within the Central

 5   District of California, defendant RAIF WADIE ISKANDER, then a

 6 ( licensed physician's assistant in the State of California, while

 7   acting and intending to act outside the usual course of professional

 8   practice and without a legitimate medical purpose, knowingly and

 9   intentionally distributed, and willfully caused the intentional

10   distribution of, approximately 480 pills containing oxycodone, a

11   Schedule II narcotic drug controlled substance.

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       1                                     COUNT NINE

       2                      [21 U.S.C. ~~ 841(a)(1), (b) (1)(C)]

       3                                [DEFENDANT ALVAREZ]

       4        On or about April 9, 2019, in Orange County, within the Central

       5   District of California, defendant JOHNNY GILBERT ALVAREZ, also known

       6   as "MJ," knowingly and intentionally distributed fentanyl, a Schedule

       7   II narcotic drug controlled substance.

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 1                                      COUNT TEN

 2                       [21 U.S.C. §~ 841(a)(1), (b)(1) (A)]

 3                                [DEFENDANT ALVAREZ]

 4         On or about April 10, 2019, in Orange County, within the Central

 5   District of California      defendant JOHNNY GILBERT ALVAREZ       also known

 6   as "MJ," knowingly and intentionally distributed at least 50 grams,

 7   that is, approximately 211.1 grams, of methamphetamine, a Schedule II

 8   controlled substance.

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 1                                    COUNT ELEVEN

 2                      [21 U.S.C. ~~ 841(a) (1), (b)(1)(A)]

 3                                [DEFENDANT ALVAREZ]

 4        On or about April 10, 2019, in Orange County, within the Central

 5   District of California, defendant JOHNNY GILBERT ALVAREZ, also known

 6 ' as "MJ," knowingly and intentionally distributed at least 50 grams,

 7   that is, approximately 214.1 grams, of methamphetamine, a Schedule II

 8   controlled substance.

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 1                               FORFEITURE ALLEGATION

 2                                 [21 U.S.C. ~ 853]

 3                                  [ALL DEFENDANTS]

 4         1.   Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 5   Procedure, notice is hereby given that the United States of America

 6   will seek forfeiture as part of any sentence, pursuant to Title 21,

 7   United States Code, Section 853 and Title 28, United States Code,

 8   Section 2461(c), in the event of any defendant's conviction of the

 9   offenses set forth in any of Counts One through Eleven of this

10   Indictment.

11         2.   Any defendant so convicted shall forfeit to the United

12   States of America the following:

13              (a)   All right, title and interest in any and all property,

14   real or personal, constituting or derived from, any proceeds which

15   the defendant obtained, directly or indirectly, from any such

16   offense;

17              (b)   All right, title and interest in any and all property,

18   real or personal, used, or intended to be used, in any manner or

19   part, to commit, or to facilitate the commission of any such offense;

20   and

21              (c)   To the extent such property is not available for

22   forfeiture, a sum of money equal to the total value of the property

23   described in subparagraphs (a) and (b).

24         3.   Pursuant to Title 21, United States Code, Section 853(p),

25   any defendant so convicted shall forfeit substitute property if, by

26   any act or omission of said defendant, the property described in the

27   preceding paragraph, or any portion thereof: (a) cannot be located

28   upon the exercise of due diligence; (b) has been transferred, sold

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 1   to, or deposited with a third party; (c) has been placed beyond the

 2   jurisdiction of the court; (d) has been substantially diminished in

 3   value; or (e) has been commingled with other property that cannot be

 4   divided without difficulty.

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 7                                              A TRUE BILL

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                                                Foreperson
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11   NICOLA T. HANNA
     United States Attorney
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13                   ~~~

14   BRANDON D. FOX
     Assistant United States Attorney
15   Chief, Criminal Division

16   BENJAMIN R. BARRON
     Assistant United States Attorney
17   Chief, Santa Ana Branch Office

18   VIBHAV MITTAL
     Assistant United States Attorney
19   Deputy Chief, Santa Ana Branch
     Office
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     ROSALIND WANG
21   Assistant United States Attorney
     Santa Ana Branch Office
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